                          IN THE DISTRICT COURT OF GUAM
                                TERRITORY OF GUAM
                                 CRIMINAL MINUTES
                                INITIAL APPEARANCE


CASE NO.: MJ-20-00092                            DATE: August 27, 2020

HON. MICHAEL J. BORDALLO, Magistrate Judge, Presiding
Law Clerk: Judith P. Hattori               Court Recorder: Walter Tenorio
Courtroom Deputy: Walter M. Tenorio        Hearing Times: 3:45 - 3:50

APPEARANCES:
Defendant: Ricky James Jr. Salas Santos           Attorney: Briana Kottke
   Present    Custody   Bond     P.R.              Present   Retained    FPD     CJA
U.S. Attorney: Rosetta San Nicolas                                            U.S. Agent:
U.S. Probation: Jeffrey Ventura - telephonic appearance
Interpreter:                                                                  Language:

PROCEEDINGS: Initial Appearance on a Complaint
   Subject to the submission of the Financial Affidavit: Briana Kottke, Assistant Federal
    Public Defender appointed to represent the defendant.
   Defendant sworn and examined.
   Defendant advised of his charges.
   Detention Hearing is set for September 1, 2020 at 10:45
   Preliminary Examination is set for September 10, 2020 at 10:30 a.m.
   Defendant remanded to the custody of the U.S. Marshals Service.
   I, Walter M. Tenorio, certify that I am a duly appointed Deputy Clerk of the District Court
    of Guam, and that I was present in the courtroom of this court on date specified above,
    and during the regular course of my profession, I made electronic sound recording(s) of
    the proceedings, for the case specified above. I have played back the recording and
    certify that it is a true and correct record of the proceedings, that it is sufficiently
    intelligible when played on a personal computer using For The Record The Record
    Player™ or equivalent software, that it can be transcribed without undue difficulty, and
    that I have filed the digital recording with the Clerk of Court.

NOTES:




                Case 1:20-cr-00021 Document 2 Filed 08/27/20 Page 1 of 1
